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                      EXHIBIT 1
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                     VERDICT FORM REGARDING HYUNDAI’S CLAIMS

                                         COUNT I: Fraud

   Do you find from a preponderance of the evidence:

   1(a).   That Defendants below committed fraud against Hyundai?

                  “Gene” Khaytin       [YES] ______ [NO] _______
                  “Eddie” Napleton     [YES] ______ [NO] _______
                  “Geo” Pelayo         [YES] ______ [NO] _______
                  “Ernie” Revuelta     [YES] ______ [NO] _______
                  Jorge Ruiz           [YES] ______ [NO] _______

   [If you answered “NO” for all Defendants, STOP and go to Count II. Otherwise, continue.]

   1(b).   That the defenses of (1) unclean hands or (2) the Florida Dealer Act’s requirement for
           Hyundai to perform an audit bar Hyundai from recovering damages?

                  ANSWER:       [YES] ______ [NO] _______

   [If you answered “YES”, STOP and go to Count II. Otherwise, continue.]

   1(c).   If you answered “YES” for a Defendant in Question 1(a), please write the dollar amount,
           if any, that will fairly compensate Hyundai for injuries resulting from Count I.

                  AMOUNT:       ______

   If you answered “YES” for any Defendant in Question 1(a), do you find from clear and
   convincing evidence:

   1(d). That Defendants below committed fraud actively and knowingly, or that Defendants below
   showed a conscious disregard or indifference to Hyundai’s rights?

                  “Gene” Khaytin       [YES] ______ [NO] _______
                  “Eddie” Napleton     [YES] ______ [NO] _______
                  “Geo” Pelayo         [YES] ______ [NO] _______
                  “Ernie” Revuelta     [YES] ______ [NO] _______
                  Jorge Ruiz           [YES] ______ [NO] _______

   [If you answered “NO”, STOP and go to Count II. Otherwise, continue.]

   1(e). If you answered “YES” for any Defendant in Question 1(d), please write the dollar amount,
   if any, that will punish those Defendants and deter others.

                  AMOUNT:       ______



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           COUNT II: Civil Racketeer Influenced and Corrupt Organization (“RICO”) Act

   Do you find from a preponderance of the evidence:

   2(a).    That Defendants below operated or managed an interest in a criminal enterprise through a
            pattern of racketeering activity with the intent to defraud Hyundai?

                   “Gene” Khaytin         [YES] ______ [NO] _______
                   “Eddie” Napleton       [YES] ______ [NO] _______
                   “Geo” Pelayo           [YES] ______ [NO] _______
                   “Ernie” Revuelta       [YES] ______ [NO] _______
                   Jorge Ruiz             [YES] ______ [NO] _______
                   EFN West Palm          [YES] ______ [NO] _______

   [If you answered “NO” for all Defendants, STOP and go to Count V (skip Count III and
   Count IV). Otherwise, continue.]

   2(b).    That “Eddie” Napleton’s conduct was as an agent of EFN West Palm.

                   ANSWER:        [YES] ______ [NO] _______

   [If you answered “YES”, STOP and go to Count V (skip Count III and Count IV). Otherwise,
   continue.]

   2(c).    If you answered “YES” for more than one Defendant in Question 2(a), please write the
            dollar amount, if any, that will fairly compensate Hyundai for injuries resulting from Count
            II.

                   AMOUNT:        ______




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                                 COUNT III: Civil RICO Conspiracy
                  [Skip this if you STOPPED and did not finish Count II (RICO)]

   Do you find from a preponderance of the evidence:

   3(a).   That Defendants below intentionally conspired and agreed to operate or manage an interest
           in a criminal enterprise through a pattern of racketeering activity with the intent to defraud
           Hyundai?

                  “Gene” Khaytin          [YES] ______ [NO] _______
                  “Eddie” Napleton        [YES] ______ [NO] _______
                  “Geo” Pelayo            [YES] ______ [NO] _______
                  “Ernie” Revuelta        [YES] ______ [NO] _______
                  Jorge Ruiz              [YES] ______ [NO] _______
                  EFN West Palm           [YES] ______ [NO] _______

   [If you answered “NO” for all Defendants, STOP and go to Count V. Otherwise, continue.]

   3(b).   If you answered “YES” for more than one Defendant in Question 3(a), please write the
           dollar amount, if any, that will fairly compensate Hyundai for injuries resulting from Count
           III.

                  AMOUNT:         ______




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                             COUNT IV: Tortious Interference

   This Count has been intentionally omitted.




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                                    COUNT V: Civil Conspiracy
                  [Skip this if you STOPPED and did not finish Count I (Fraud)]

   Do you find from a preponderance of the evidence:

   5(a).   That two or more of the Defendants below conspired to commit fraud against Hyundai?

                  “Gene” Khaytin         [YES] ______ [NO] _______
                  “Eddie” Napleton       [YES] ______ [NO] _______
                  “Geo” Pelayo           [YES] ______ [NO] _______
                  “Ernie” Revuelta       [YES] ______ [NO] _______
                  Jorge Ruiz             [YES] ______ [NO] _______

   [If you answered “NO” for all Defendants, STOP and go to West Palm’s counterclaims.
   Otherwise, continue.]

   5(b).   If you answered “YES” for more than one Defendant in Question 5(a), please write the
           dollar amount, if any, that will fairly compensate Hyundai for injuries resulting from Count
           V.

                  AMOUNT:        ______

   If you answered “YES” for any Defendant in Question 5(a), do you find from clear and
   convincing evidence:

   5(c). That Defendants below conspired to commit fraud actively and knowingly, or that
   Defendants below showed a conscious disregard or indifference to Hyundai’s rights?

                  “Gene” Khaytin         [YES] ______ [NO] _______
                  “Eddie” Napleton       [YES] ______ [NO] _______
                  “Geo” Pelayo           [YES] ______ [NO] _______
                  “Ernie” Revuelta       [YES] ______ [NO] _______
                  Jorge Ruiz             [YES] ______ [NO] _______

   [If you answered “NO”, STOP and go to West Palm’s counterclaims. Otherwise, continue.]

   5(d). If you answered “YES” for any Defendant in Question 5(c), please write the dollar amount,
   if any, that will punish those Defendants and deter others.

                  AMOUNT:        ______




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             VERDICT FORM REGARDING WEST PALM’S COUNTERCLAIMS

                           COUNT I: Hyundai’s unfair allocation system

   1(a).   Do you find that EFN West Palm made a prima facie showing that Hyundai’s system of
           new car allocation was unfair, inequitable, unreasonably discriminatory, or not supportable
           by reason and good cause?

                  ANSWER: [YES] ______ [NO] _______

   [If you answered “NO”, STOP and move to Count II. Otherwise, continue.]

   Do you find from a preponderance of the evidence that Hyundai proved:

   1(b).   That Hyundai’s system of new car allocation was fair, equitable, not unreasonably
           discriminatory, and supportable by reason and good cause?

                  ANSWER: [YES] ______ [NO] _______

   [If you answered “YES”, STOP and move to Count II. Otherwise, continue.]

   1(c).   Please write the amount, if any, that will fairly compensate EFN West Palm for injuries
           resulting from Count I. Please answer in dollars and cents.

                  AMOUNT:        ______




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            COUNT II: Hyundai’s failure to allocate new cars in reasonable quantities

   2(a).   Do you find that EFN West Palm made a prima facie showing that Hyundai delayed,
           refused, or failed to provide a supply of new cars in reasonable quantities to EFN West
           Palm?

                  ANSWER: [YES] ______ [NO] _______

   [If you answered “NO”, STOP and move to Count III. Otherwise, continue.]

   Do you find from a preponderance of the evidence that Hyundai proved:

   2(b).   That Hyundai’s actions did not result in any delay, refusal, or failure to provide a supply
           of new cars in reasonable quantities to EFN West Palm?

                  ANSWER: [YES] ______ [NO] _______

   [If you answered “YES”, STOP and move to Count III. Otherwise, continue.]

   2(c).   Please write the amount, if any, that will fairly compensate EFN West Palm for injuries
           resulting from Count II. Please answer in dollars and cents.

                  AMOUNT:        ______




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                 COUNT III: Hyundai’s failure to timely deliver enough new cars

   3(a).   Do you find that EFN West Palm made a prima facie showing that Hyundai refused to
           deliver, in reasonable quantities and within a reasonable time, new cars to EFN West Palm?

                  ANSWER: [YES] ______ [NO] _______

   [If you answered “NO”, STOP and sign the next page. Otherwise, continue.]

   Do you find from a preponderance of the evidence that Hyundai proved:

   3(b).   That Hyundai’s actions did not result in any refusal to deliver, in reasonable quantities and
           within a reasonable time, new cars to EFN West Palm?

                  ANSWER: [YES] ______ [NO] _______

   [If you answered “YES”, STOP and sign the next page. Otherwise, continue.]

   3(c).   Please write the amount, if any, that will fairly compensate EFN West Palm for injuries
           resulting from Count III. Please answer in dollars and cents.

                  AMOUNT:         ______




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    Please have the foreperson sign this verdict form.

    SO SAY WE ALL

                                                         _______________________
                                                         Foreperson

    Dated: ______________




                                                    9
